                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JEFFREY R. WENK, LEE ANN WENK,
                Plaintiffs,                                     2:22-CV-00433-CCW
        v.

STATE FARM FIRE AND CASUALTY
COMPANY,
                Defendant.


               ORDER SETTING INITIAL SCHEDULING CONFERENCE

       The following deadlines are set for the above-captioned matter:

1.     Initial Rule 16 Scheduling Conference

       An Initial Rule 16 Scheduling Conference is scheduled for October 3, 2022, at 10:00 a.m.

via the teleconference information previously provided to the parties. See ECF No. 4. Lead

counsel for all parties shall participate in the telephonic conference and parties shall be available

by phone. All counsel and unrepresented parties shall bring their calendars to the conference for

scheduling purposes.

2.     Rule 26(f) Conference

       Pursuant to Federal Rule of Civil Procedure 26(f), the parties must confer to consider the

nature and basis of their claims and defenses, proposed deadlines, the nature and scope of

discovery and the possibilities for a prompt settlement or resolution of the case. The parties also

must arrange for the exchange of the initial disclosures required by Rule 26(a)(1). The parties

shall meet and confer on or before September 19, 2022.

3.     Rule 26(f) Report and ADR Stipulation

       Prior to the Initial Rule 16 Scheduling Conference, the parties shall confer and file a report

consistent with Rule 26(f) and a stipulation on the use of alternative dispute resolution (ADR).
The ADR stipulation must contain the information specified on the Court’s Website under ADR

program information (see web page at https://www.pawd.uscourts.gov/adr-program-information),

and it must comply with Local Rule 16.2. The parties must identify the type of ADR selected, the

proposed neutral and the date by which ADR will be completed. The stipulation selecting the

ADR process, and the Rule 26(f) report as well as, if appropriate, any expedited docket stipulation,

shall be filed on or before September 26, 2022.

4.     Expedited Civil Litigation Alternative to Mandatory ADR

       Effective September 4, 2012, as an alternative to participating in the Court’s ADR process,

the parties may elect to participate in this Court’s expedited civil litigation program. The purpose

of this program is to offer parties the option of alternative, abbreviated, efficient and cost-effective

litigation and trial. Participation is entirely voluntary. Further information about the program

can be found on the Court’s website at https://www.pawd.uscourts.gov/expedited-civil-litigation.

       Parties who wish to participate in the expedited civil litigation program, should meet and

confer collectively and with their respective clients and discuss all aspects of the program before

executing the expedited docket stipulation, available at the above website. When discussing this

option, the parties should consider: the cost of litigation; the complexity of the case; the number

of witnesses; the likelihood of a successful dispositive motion; the pretrial and post-trial limitations

established by the program; and the relative value of the case. The irrevocable expedited docket

stipulation is due on or before September 26, 2022. Note that the filing of the expedited docket

stipulation negates the requirement of the parties to file a stipulation selecting ADR Process.

5.     Settlement

       Counsel must meet and confer regarding settlement consistent with Rule 26(f)(2). In cases

in which a party has requested a JURY trial, at least three (3) business days prior to the initial Rule



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16 scheduling conference, each party shall submit a confidential position letter of five (5) pages or

less to Judge Wiegand’s chambers. Any such position papers in this case are due on or before

September 28, 2022 To ensure candor, the position letters are not to be filed or shared with

opposing     counsel,      but     rather,    are       to   be    emailed      to     chambers    at

Wiegand_Chambers@pawd.uscourts.gov. All position letters will be kept confidential.

       The position letter shall include:

               (a)      A brief recitation of the most salient facts in the case;

               (b)      A forthright discussion of your party’s strengths and weaknesses including

                        your party’s likelihood of prevailing on each claim or defense and a

                        description of the issues remaining in dispute;

               (c)      An estimate of the cost and time to be expended for trial;

               (d)      The relief you are seeking; and

               (e)      Your party’s settlement posture, including present demands and offers and

                        history of past settlement discussions, offers, and demands.

       In non-jury cases, the parties should not submit position letters.

6.     Practices and Procedures

       Counsel must familiarize themselves with the Practices and Procedures of the undersigned

on the Court’s website (see web page at:

https://www.pawd.uscourts.gov/sites/pawd/files/Wiegand_Interim_Practices_Oct_2020.pdf); and




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they will be held responsible for complying with such practices and procedures.



       DATED this 8th day of September, 2022.



                                            BY THE COURT:


                                            /s/ Christy Criswell Wiegand
                                            CHRISTY CRISWELL WIEGAND
                                            United States District Judge



cc (via ECF email notification):

All Counsel of Record




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